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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:09CR3005-2
                                              )
                    Plaintiff,                )
                                              )
      vs.                                     )
                                              )          ORDER
RICHARD CANFIELD,                             )
                                              )
                    Defendant.                )


      On the joint oral motion of counsel,

       IT IS ORDERED that Defendant Canfield’s sentencing is continued to Friday,
February 26, 2010, at 1:00 p.m., before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      Dated January 28, 2010.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
